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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

: Case No. 08-13141 (KJC)
Tribune Company, et al., :
: Jointly Administered
Debtors. :
>Re: DAL

ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
TO JAYNE CLEMENT

Upon the motion (the “Motion”)! of Jayne Clement (“Clement” or the “Movant”) for an
order granting the Movant relief from the automatic stay pursuant to section 362(d)(1) of title 11
of the United States Code (the “Bankruptcy Code”), and due and adequate notice of the Motion
having been provided; and cause appearing therefor; it is hereby

ORDERED that the Motion is granted; and it is further

ORDERED that the Movant is granted relief from the automatic stay of section 362 of
the Bankruptcy Code to proceed with the Clement State Court Actions to their final resolution
against the Tribune Defendants and/or their successors in interest, and to execute upon any
judgment obtained by virtue of the Clement State Court Actions against the Debtors and/or their
successors in interest; and it is further

ORDERED that the Court shall retain jurisdiction over any matter concerning, or in any
way relating to, the Motion, this Order, or the relief granted herein; provided, however, that
nothing set forth herein shall in any way modify, alter or otherwise impact the jurisdiction of the
Clement State Court Actions and/or confer jurisdiction on this Court to cover the causes of

action asserted in the Clement Complaints.

' Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Dated: , 2011

The Honorable Kevin J. Carey
United States Bankruptcy Judge
